Case 2:O4-cr-20081-.]PI\/| Document 122 Filed 05/27/05 Page 1 of 3 Page|D 194

IN THE UNITED STATES DISTRICT COURT
FOR THE WES'I`ERN DISTRIC'I` OF TENNESSEE
WESTERN DIVISION

 

 

 

UNITED STATES OF AMERICA

Plaintiff,

Criminal No. O,L -@O&¢ Ml

{3 0 -Day Continuance)

 

 

 

 

~_»~__/`T,`,,\_,\_/\_/`_,\_,-_/~__,\_,\_,~_/\_,V`_,-`_,`_,V

Defendant($).

 

CONSENT ORDER ON C'RIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the

Speedy Trial Act. The case is currently set on the June, 2005,

- - . . 716/mr 953¢)91/1/~
criminal rotation calendar, but is no RESE'I' for ascap-agc at 9-.-6-6-
momonv acreage _?
a.m. on ma the M', 2005, with trial to take place on the

July, 2005 rotation calendar With the time excluded under the

Oc/{vbev 11-[

Speedy Trial Act through M,/ZOOE. Agreed in open court at

report date this 27`th day of May, 2005.

'l`his docL ment entered on the docket sheet \n compliance
with R.l|e 55 and/or 32lb) FRCrP on "

\7.1»

Case 2:O4-cr-20081-.]PI\/| Document 122 Filed 05/27/05 Page 2 of 3 Page|D 195

so oRDERED this 27th day of Mey, 2005.

c>.m(hll

JO PHIPPS MCC'ALLA
TED STATES DISTRICT JUDGE

 

 

 

j//*\ 1 _“-._
Assistant U ` é" tes Attorney

    

 

 

 

Counsel for Defendant(s)

DISTRIC COURT -WESTER D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 122 in
case 2:04-CR-20081 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Eugene A. Laurenzi

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.
50 N. Front St.

Ste. 800

l\/lemphis7 TN 38103

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

l\/lemphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

